                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                      CENTRAL DIVISION

BOARD OF CURATORS OF                                )
LINCOLN UNIVERSITY,                                 )
                                                    )
                          Plaintiff,                )
                                                    )        Case No. 2:19-CV-04125-BCW
         v.                                         )
                                                    )
62nd & 65th REGIMENTS LEGACY                        )
FOUNDATION, INC.,                                   )
                                                    )
                      Defendant.                    )
_________________________________                   )
                                                    )
62nd & 65th REGIMENTS LEGACY                        )
FOUNDATION, INC., THOMAS J. COOPER,                 )
and SHARLYN L. COOPER,                              )
                                                    )
                         Counter-Claimants,         )
                                                    )
v.                                                  )
BOARD OF CURATORS OF                                )
LINCOLN UNIVERSITY and                              )
JOSEPH SIMMONS,                                     )
                                                    )
                        Counter-Defendants.         )
                                                    )

                                       ORDER OF DISMISSAL

        Having been notified of the settlement of this case, and it appearing that no issue remains for the

Court’s determination, it is hereby

        ORDERED the above-styled action is DISMISSED with prejudice. In the event that the

settlement is not perfected, any party may move to reopen the case, provided that such motion is filed

within 45 days of the date of this Order. In addition, the Court retains jurisdiction over enforcement of

the settlement agreed to by the parties. It is further

        ORDERED Defendant’s Motion to Dismiss (Doc. #45) is DENIED AS MOOT.

       IT IS SO ORDERED.


       DATED: May 19, 2020                                     /s/ Brian C. Wimes
                                                               JUDGE BRIAN C. WIMES


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